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USA-74-24b
(Rev. 6-1-71)

LAREDO DIVISION

 

CRIMINAL DOCKET 44 _ 2 1 -2030

 

 

 

FILE: 2021R07457 MAG#: L-21-2169-L
INDICTMENT Filed: October 19, 2021 Judge: RANDY CRANE
. ATTORNEYS:
UNITED STATES OF AMERICA
JENNIFER B. LOWERY, ACTING USA
VS. JAMES H. STURGIS, AUSA

 

ANGEL HUERTA-GARAY

CHARGE: Ct. 1: Smuggling Goods from the United States
[18 USC 554 & 2]

Notice of Forfeiture

TOTAL COUNTS: 1

PENALTY: Ct. 1: 0 to 10 years and/or $250,000 Fine, $100 special assessment,
Not more than a three (3)~year term of supervised release

Tn Jail:

On Bond:

 

Name & Address of Surety: |

No Arrest:
